Case 2:09-md-02047-EEF-MBN Document 11234-1 Filed 11/18/11 Page 1 of9

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED MDL NO. 2047
DRYWALL PRODUCTS LIABILITY SECTION: L
LITIGATION JUDGE FALLON

MAG. JUDGE WILKINSON

THIS DOCUMENT RELATES TO:

Payton, et al. v. Knauf GIPS KG, et. al., Case
No. 2:09-cv-07628 (E.D.La.)

Wiltz, et al. v. Beijing New Building Materials
Public Limited Co., et. al., Case No. 2:10-cev-
00361 (E.D.La.)

Gross, et al. v. Knauf Gips KG, et. al., Case
No. 2:09-cv-6690 (E.D.La.)

Rogers, et al. v. Knauf GIPS KG, et. al., Case
No. 2:10-cv-00362 (E.D.La.)

Abel, et. al. v. Taishan Gypsum Co., Ltd..,
J/k/a Shandong Taihe Dongxin Co., Ltd., et.
al., Case No. 2:11-cv-080 (E.D.La.)

Abreu, et. al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, Case No. 2:11-
cv-252 (E.D.La.)

Haya, et al v. Taishan Gypsum Co., Ltd. f/k/a
Shandong Taihe Dongxin Co., Ltd., et al.,
Case No. 11-cv-1077 (E.D.La.)

Block, et. al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et. al., Case No.
11-cv-1363 (E.D.La.)

PLAINTIFFS' MEMORANDUM OF LAW IN SUPPORT OF OMNIBUS MOTION FOR
PRELIMINARY DEFAULT JUDGMENT

I. INTRODUCTION

As the Court is well aware, the Plaintiffs’ Steering Committee (“PSC”) has filed

numerous omnibus class action complaints against the manufacturers and other parties
Case 2:09-md-02047-EEF-MBN Document 11234-1 Filed 11/18/11 Page 2 of 9

responsible for the defective Chinese manufactured drywall that was installed in the homes of the
plaintiffs in this litigation. Shortly after filing each of these complaints, the PSC commenced
serving the named defendants with these pleadings. Many of the defendants who have been
served with the omnibus class action complaints have failed to enter an appearance, answer, or
otherwise respond to the applicable complaint. As to these defaulting defendants [hereafter the
‘“Defaulting Defendants”, Plaintiffs request that the Court enter preliminary default judgment
against each of them in favor of the plaintiffs and class members who are aligned with these
defendants.
Il. FACTS

The PSC has filed omnibus class action complaints during the course of this litigation in
order to streamline plaintiffs onto consolidated complaints that are organized by the
manufacturing defendants responsible for the defective drywall in the plaintiffs’ homes. In
addition to asserting claims against manufacturing defendants, these omnibus complaints are also
designed as a vehicle for plaintiffs to bring claims against the non-manufacturing defendants in
the stream of distribution of the defective drywall in their homes. The pertinent omnibus
complaints at issue in Plaintiffs’ motion for entry of preliminary default judgment are:

1. Payton, et al. v. Knauf GIPS KG, et. al., Case No. 2:09-cv-07628 (E.D.La.)
(Omni I) (involving claims against the Knauf defendants);

2. Wiltz, et al. v. Beijing New Building Materials Public Limited Co., et. al., Case
No. 2:10-cv-00361 (E.D.La.) (Omni II) (involving claims against non-Knauf
manufacturers such as Taishan and BNBM);

3. Gross, et al. v. Knauf Gips KG, et. al., Case No. 2:09-cv-6690 (E.D.La.) (Omni
Ill) (asserting alternative liability theory against all known manufacturers for
drywall that cannot be traced to a particular manufacturer);

4. Rogers, et al. v. Knauf GIPS KG, et. al., Case No. 2:10-cv-00362 (E.D.La.)
(Omni IV) (involving claims against the Knauf defendants);

5. Abel, et. al. v. Taishan Gypsum Co., Ltd., f/k/a Shandong Taihe Dongxin Co.,
Case 2:09-md-02047-EEF-MBN Document 11234-1 Filed 11/18/11 Page 3 of 9

Ltd, et. al., Case No. 2:11-cv-080 (E.D.La.) (Omni VII) (involving claims against
Taishan and related entities);

Abreu, et. al. v. Gebrueder Knauf Verwaltungsgesellschaft, KG, et. al., Case No.
2:11-cv-00252 (E.D.La.) (Omni VII])(involving claims against the Knauf
defendants);

Haya, et al v. Taishan Gypsum Co., Ltd. f/k/a Shandong Taihe Dongxin Co., Ltd.,
et al., Case No.: 11-cv-1077 (E.D.La.) (Omni [X)(involving claims against the
Taishan defendants); and

Block, et. al. v. Gebrueder Knauf Verwaltungsgesellschaft, KG, et. al., Case No.:
11-cv-1363 (E.D.La.) (Omni X)(involving claims against the Knauf defendants).

Since the filing of each of the above omnibus class action complaints, Plaintiffs received

notice that service of process was perfected on many of the named defendants who are now in

default. For each of the omnibus class action complaints at issue in the instant motion, the

Defaulting Defendants are as follows:

1.

With respect to the proceedings in Payton, the defaulting defendants are set forth
in Exhibit “A” to Plaintiffs’ motion;

With respect to the proceedings in Wiltz, the defaulting defendants are set forth in
Exhibit “B” to Plaintiffs’ motion;

With respect to the proceedings in Gross, the defaulting defendants are set forth in
Exhibit “C” to Plaintiffs’ motion;

With respect to the proceedings in Rogers, the defaulting defendants are set forth
in Exhibit “D” to Plaintiffs’ motion;

With respect to the proceedings in Abel, the defaulting defendants are set forth in
Exhibit “E” to Plaintiffs’ motion;

With respect to the proceedings in Abreu, the defaulting defendants are set forth in
Exhibit “F” to Plaintiffs’ motion;

With respect to the proceedings in Haya, the defaulting defendants are set forth in
Case 2:09-md-02047-EEF-MBN Document 11234-1 Filed 11/18/11 Page 4 of 9

Exhibit “G”to Plaintiffs’ motion; and
8. With respect to the proceedings in Block, the defaulting defendants are set forth in
Exhibit “H” to Plaintiffs’ motion.
See Levin Declaration, Exhibit “T’.
As of the filing of Plaintiffs’ motion for entry of preliminary default judgment, none of
the Defaulting Defendants have entered an appearance, filed an answer, or otherwise responded
to the applicable complaint.

TW. ARGUMENT

The entry of a default judgment is governed by Fed.R.Civ.Proc. 55, which states in

pertinent part:

When a party against whom a judgment for affirmative relief is
sought has failed to plead or otherwise defend, and that failure is
shown by affidavit or otherwise, the clerk must enter the party’s
default...

[In cases where the plaintiff's claim is for a sum that is not certain
and cannot be made certain by computation], the party must apply
to the court for a default judgment...If the party against whom a
default judgment is sought has appeared personally or by a
representative, that party or its representative must be served with
written notice of the application at least 3 days before the hearing...

See Fed.Rule.Civ.Proc. 55.
This Court has publically warned defendants that their counsel must enter an appearance
on their behalf within twenty (20) days of service of the complaint or risk being held in default:

IT IS ORDERED that Pretrial Order #1, Paragraph 8 regarding
EXTENSION AND STAY be and is hereby MODIFIED to reflect
that those who have been served and who have not made an
appearance will be subject to default. The Court instructed the
parties to file a motion for default in cases involving parties who
have been served but who have not made an appearance, before the
next status conference.

See Minute Entry dated August 11, 2009, p.3 [Document # 165]. See also Pretrial Order
Case 2:09-md-02047-EEF-MBN Document 11234-1 Filed 11/18/11 Page 5of9

(“PTO”) No. 1G (clarifying that counsel must enter an appearance within twenty (20) days after
service of a complaint on their client) [Document # 3348].'

Here, Plaintiffs received documentation reflecting service of process of the applicable
pleading on each of the Defaulting Defendants which documentation has been filed with the
Court. See Levin Declaration, Exhibit “I”. As of this date, none of the Defaulting Defendants
have entered an appearance or filed a responsive pleading notwithstanding the Court’s instruction
that they must enter an appearance within 20 days of service of process or risk being held in
default. Accordingly, the Defaulting Defendants have failed to respond to Plaintiffs’ omnibus
complaints or otherwise defend themselves as set forth in Exhibits “A” through “H”. As the
Fifth Circuit has explained, mere acceptance of service does not constitute an appearance for
purposes of Fed.R.Civ.Proc. 55(b)(2). Rogers v. Hartford Life and Acc. Ins. Co., 167 F.3d 933,
937 (5" Cir. 1999). Thus, plaintiffs need not notify the Defaulting Defendants of the present
motion for entry of preliminary default judgment.

The Defaulting Defendants have proffered no excuse for their failure to respond to
Plaintiffs’ omnibus complaint. Accordingly, by the plain language of Fed.Rules Civ. Proc. 55,
Plaintiffs and the class they seek to represent are entitled to the entry of default and preliminary
default judgment against the Defaulting Defendants with whom they are aligned.

With respect to the proceedings in Payton, Wiltz, Gross, and Rogers, the plaintiffs

participating in the intervention complaints are also entitled to preliminary default judgment

' Pursuant to Fed.Rule Civ. Proc. 12, a defendant must serve an answer within 20 days
after being served with the summons and complaint. See Fed.R.Civ.Proc. 12(a)(1)(A)(). PTO
No. 1G is designed to relax the burden on defendants by allowing them to avoid default by
entering an appearance within 20 days of service of process.

5
Case 2:09-md-02047-EEF-MBN Document 11234-1 Filed 11/18/11 Page 6 of 9

against the Defaulting Defendants with whom they are aligned.” These plaintiffs are entitled to
preliminary default judgement since they are members of the classes that are alleged against the
Defaulting Defendants in the initiating omnibus complaints as originally filed. In addition,
service of the intervention complaints has been attempted or perfected on each of the Defaulting
Defendants.’ See Levin Declaration, Exhibit “I”. As a result of Plaintiffs’ efforts to perfect
service of process, the overwhelming majority of the Defaulting Defendants have been served
with the intervention complaints. None of these defendants have entered an appearance,
answered the intervention complaint at issue or the initiating omnibus complaint, or otherwise
defended themselves within the period contemplated by Fed.Rule Civ. Proc. 12. Therefore, the
plaintiffs participating in the intervention complaints are likewise entitled to preliminary default
judgment against the Defaulting Defendants since these defendants are in default after being
served with the initiating complaint and/or the intervention complaints.

IV. CONCLUSION

WHEREFORE, for the reasons set forth above, Plaintiffs respectfully request that the

Court grant Plaintiffs’ omnibus motion for preliminary default judgment.

? The intervention complaints in the Payton were filed by Phillip Kennedy and Lyzet
Machado-Kennedy (Omnibus I(A) - document 5578), Benjamin and Jennifer Abt (Omnibus I(B)
- document # 6563), and Bonnie and John H. Adams, III (Omnibus I(C) - document # 7181).

The intervention complaints in Wiltz were filed by Kenneth and Cynthia Burke (Omnibus II(A) -
document # 5579), Eduardo and Carmen Armorin (Omnibus II(B) - document # 6567), and
Clifford Abromatts and Janice Worobec (Omnibus II(C) - document # 7182). The intervention
complaints in Gross were filed by Mary Anne Benes (Omnibus III - document # 2187) and
Ruben Jaen (Omnibus II(A) - document # 5580). The intervention complaints in Rogers were
filed by Kathleen and Mariss Barbee (Omnibus IV(A) - document 5575), Roxanne Burey
(Omnibus IV(B) - document # 6568), and Alfons and Dawn Bucaj (Omnibus IV(C) - document #

7178).

3 Service of the intervention complaints on the foreign defendants has been attempted or
perfected under the Hague Convention.
Case 2:09-md-02047-EEF-MBN Document 11234-1 Filed 11/18/11 Page 7 of 9

Dated: November 18, 2011

Respectfully submitted,

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Case 2:09-md-02047-EEF-MBN Document 11234-1 Filed 11/18/11 Page 8 of 9

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Case 2:09-md-02047-EEF-MBN Document 11234-1 Filed 11/18/11 Page 9 of9

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